
644 S.E.2d 231 (2007)
PHILIP MORRIS USA INC.
v.
E. Norris TOLSON, Secretary of Revenue of the State of North Carolina.
No. 191P06.
Supreme Court of North Carolina.
March 8, 2007.
Charles B. Neely, Jr., Nancy S. Rendleman, Kevin W. Benedict, Raleigh, David A. *232 Agosto, New York, NY, for Philip Morris USA.
Kay Linn Miller Hobart, Special Deputy Attorney General, for E. Norris Tolson.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 11th day of April 2006 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed on the 11th day of April 2006 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
